Case 6:11-CV-06238-C.]S-I\/|WP Document 1 Filed 05/03/11 Page 1 of 59

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

HECTOR L. VALENTIN

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'VS' »" 11.ED
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CITY OF` ROCHESTER, CHIEF S SHEPPARD, FORMER CHIEF OF
POLICE DAVID MOORE, ROCHESTER POLICE DEPARTME`.NT, ROCHESTER POL[CE
DEPARTMENT OFFlCER/lNVESTIGATOR MICHAEL COTSWORTH, INVESTIGATOR
DAVE MACE, INVES'I`IGATOR JOSEPH MURPHY, INVESTIGATOR PAUL Wi"i[..TI-lER1
INVESTIGATOR BLAHO, OFFICER ADORANTE, OFFICER HOLMES, FORMER
ROCHESTER POLICE DEPARTMENT OFFICER HOKE

MONROE COUNTY, MONROE COUNTY DIS'I`RICT ATTORNEY’S OFFICE, MONROE
COUNTY DISTRICT A'I"I`ORNEY MICHAEL GREEN, FORMER MONROE COU`N'I`Y
DISTRICT A'I"I`ORNEY HOWARD REI..IN, FORMER MONROE COUNTY ASSISTANT
DISTRICK ATTORNEY DANIEL MA.ICHRZAK, MONROE COUNTY ASSISTAN'I`
DlSTRICT AT'I`ORNEYS PATRICK FIERRO, .IOHN MUNRO AND JOHN MARCHIONI,
MONROE COUNTY DISTRICT A'I`TORNEY’S OFFICE EMPLOYEES MS. WENDY SISCA
AND INVESTIGATOR CASPER CACECI;

Defendants.

 

Plaintiff Hector L. Valentin acting Pro Se brings this civil rights action against
Defendants, City of Rochester, Chief of Police J ames Sheppard, former Chief of
Police David Moore, Rochester Police Department, Rochester Police Department
Officer/Invcstigator Michael Cotsworth, Investigator David Mace, Investigator
Joseph Murphy, Investigator Paul Walther, Investigator Blaho, Officer Adorante,
Officer Holrnes and former Rochestcr Police Department Off`lcer Hokc, Monroe
County, Monroe County District Attorney’s Off`lce, Monroe County District
Attorney Michael Green, former Monroe County District Attomey Howard Relin,
former Monroe County Assistant District Attorney Daniel Majchrzak, Monroe
County Assistant District Attorneys Patrick Fierro, John Munro and John
Marchioni, Monroe County District Attomey’s Office employees MS.Wendy

Sisca and Monroe County Investigator Casper Caceci.

Case 6:11-CV-06238-C.]S-I\/|WP Document 1 Filed 05/03/11 Page 2 of 59

Statement of Complaint

The Fifth Amendment states "no person shall be deprived of life, liberty, or
property, without due process of law and this Federal Constitutional civil right

was extended to include the states by the Fourteenth Amendment in 1868.

This Complaint alleges that the above named defendants acted with reckless
disregard and under the color of law, committed one or more Brady violations
with their failure to disclose this Brady material in their possession and control

to my defense.

As a result of the failure of the named defendants in this Complaint to
disclose this Brady information that they knew or should have known was
favorable to my defense and material to the outcome of my trial, l was denied
my Fifth and Fourteenth Amendment civil rights to a fair trial without due

process of law that led to my false imprisonment and loss of liberty for 6 years.

l respectfully contend that the specific illegal actions by each named

defendant in this Complaint are as follows:

l) ADA Daniel Majchrzak, the chief prosecutor was charged with a Brady
violation on the suppression of John Kemp’s criminal records in the New York
State Appellate Court decision (People v Valentin) and in my Federal Habeas

Corpus Grant (Valentin v Mazzuca).

a) ln the Habeas Corpus grant, the Federal Magistrate judge ruled that ADA
Daniel Majchrzak committed a Brady violation by withholding information that

was favorable to my defense and material to the outcome of my trial.

b) He also ruled that the prosecutor’s illegal action violated my Constitutional

civil rights to a fair trial and due process of law and expunged my convictions

2) In my Complaint, l respectfully contend that ADA Daniel Majchrzak
committed two additional Brady violations in his suppression of the criminal

records of Terrance McLaurin and Sarah Bower’s pending criminal action that he

Case 6:11-CV-06238-C.]S-I\/|WP Document 1 Filed 05/03/11 Page 3 of 59

knew or should have known were in his possession and control and failed to

disclose this Brady material to my defense.

a) In this Complaint, I respectfully contend that ADA Daniel Majchrzak
engaged in a malicious prosecution with his use of the discredited brain
damaged convicted child molester John Kemp who was willing to change his

story and perjured himself at my trial.

b) ln addition, l respectfully contend that ADA Daniel Majcrhzak continued
his malicious prosecution and suborned the perjury of his key eyewitness with
his failure to correct John Kemp’s perjured testimony and improperly and
personally vouched for the credibility of his key eyewitness during his redirect

and closing argument

c) l respectfully contend that ADA Daniel Majchrzak again expanded his
malicious prosecution with his use of the material witness Sarah Bower who also
perjured herself at my trial and accused me of stealing car speakers that were

never reported stolen from the store etc.

d) Furthermore, I respectfully contend that ADA Daniel Majchrzak made
false and misleading statements at my trial to the court and jury that were not

supported by the facts, proof and evidence at my trial.

2) l respectfully contend that Howard Relin, the former District Attorney and
ADA Majchrzak’s supervisor also committed a Brady violation when he failed
to turn over to my defense Sarah Bower’s prosecution records that were in his

possession and control.

a) l respectfully contend that Mr. Relin engaged in a cover up and had a
conflict of interest when he failed to conduct an internal investigation when
ADA Daniel Majchrzak’s extensive and egregious misconduct and use of

perjured witness testimony was brought to his attention

b) l respectfully contend that Mr. Relin improperly vouched for the
credibility of Sarah Bower in his letter to Mr. Rolfe without first checking her

Case 6:11-cV-06238-C.]S-I\/|WP Document 1 Filed 05/03/11 Page 4 of 59

veracity and prosecution records that were in his possession and control that his

credibility information on her was correct

c) I respectfully contend that Mr. Relin knew or should have known of the
illegal actions of his former employees that denied my defense of any Brady

information that was material to the outcome of my trial and failed to correct it.

d) Mr. Relin is also relevant to this Complaint and was responsible at the
time of these violations for the policies, practices and customs of all former

employees at the Monroe County District Attomey’s Office.

3) I respectfully contend that the current District Attomey Michael Green
knew or should have known of the illegal actions of his employees and former

employees and failed to correct it.

a) Mr. Green is also relevant to this Complaint and responsible for the
policies, practices and customs of all past and present employees at the Monroe
County District Attomey’s Ofiice that also denied my defense of any favorable
Brady information that was material to the outcome of my trial and has occurred

after his election in 2004 and has continued up to the present time and date.

4) l respectiiilly contend that ADA John Munro who covered for Mr.
Majchrzak at my Wade and Huntley hearing committed a Brady violation when
he knew or should have known of John Kemp’s criminal records that were in his
possession and control when he failed to honor his ongoing Brady obligations

and disclose this Brady material to ADA Majchrzak and my defense.

5) I respectfully contend that ADA Patrick Fierro who fought my appeal
committed a Brady violation when he knew or should have known of Sarah
Bower’s pending criminal action and her prosecution by his office that were in
his possession and control when he failed to honor his ongoing Brady

obligations and disclose this Brady material to my defense.

6) l respectfully contend that ADA John Marchioni who prosecuted Sarah
Bower on the petit larceny charge committed a Brady violation when he knew

or should have known of Sarah Bower’s involvement in my case and her theft

Case 6:11-cV-06238-C.]S-I\/|WP Document 1 Filed 05/03/11 Page 5 of 59

that were in his possession and control and failed to honor his ongoing Brady

obligation and disclose this Brady material to Mr. Majchrzak and my defense.

7) I respectfully contend that the Monroe County District Attomey’s
lnvestigator Casper Caceci was acting in the role of a police investigator when
he was assigned to investigate the robbery incident on Dewey Avenue and track

down the whereabouts of another eyewitness Terrance McLaurin.

a) l respectfully contend that Investigator Caceci committed a Brady
violation when he knew or should have known of the criminal records of John
Kemp and Terrance McLaurin and the pending criminal action against Sarah
Bower that were in his possession and control and failed to honor his ongoing
Brady obligation and disclose this Brady material to Mr. Majchrzak and my

defense

8) l respectfully contend that MS. Sisca another employee of the same office
acted in the role of a police investigator when she was assigned to track down the

whereabouts of the material witness Sarah Bower.

a) l respectfully contend that Ms Sisca committed a Brady violation when
she knew or should have known of MS. Bower’s pending criminal action from
her police investigative involvement in my case that were in her possession and
control and failed to disclose this Brady material to ADA Majchrzak and my

defense.

9) I respectfully contend that Officer/lnvestigator Michael Cotsworth who was
one of ADA Daniel Mahchrzak key police investigators committed a Brady
violation when he knew or should have known of the criminal records of John
Kemp, Terrance McLaurin and Sarah Bower’s pending criminal action with his
local office (Highland Police Offlce) that were in his possession and control and
failed to honor his Brady obligations and disclose this Brady material to ADA

Majchrzak and my defense.

a) In addition, l respectfully contend that Investigator/Ofiicer Michael

Cotsworth violated official police policy when he failed to make an arrest on

Case 6:11-cV-06238-C.]S-I\/|WP Document 1 Filed 05/03/11 Page 6 of 59

Sarah Bower for his local office (Highland Police Office) pending criminal
action charge against her when he knew or should have known she would make

an appearance right alter his testimony at my trial.

10) l respectfully contend that the other police members on ADA Majchrzak’s
team which included Investigators Mace, Murphy and Walther also committed a
Brady violation when they knew or should have known of the criminal records
of John Kemp, Terrance McLaurin and Sarah Bower’s pending criminal action
that were in their possession and control and failed to disclose this Brady

material to ADA Majchrzak and my defense.

ll) I respectfully contend that other police officers including Officer l-loke
and Adorante that worked with Investigator/Officer Michael Cotswoth at the
Highland Police office committed a Brady violation when they knew or should
have known of the criminal records of John Kemp, Terrance McLaurin and
Sarah Bower’s pending criminal action that were in their possession and
control and failed to disclose this Brady material to ADA Majchrzak and my

defense.

12) l respectfully contend that Investigator Blaho and Officer Holmes who
were also involved in the investigation of the robbery incident on Dewey Avenue
committed a Brady violation when they knew or should have known of the
criminal records of Jolm Kemp, Terrance McLaurin and Sarah Bower’s pending
criminal action that were in their possession and control and failed to disclose

this Brady material to ADA Majchrzak and my defense.

13) l respectfully contend that the former Rochester Police Department Chief
of Police David Moore knew or should have known of the illegal actions of his

employees’ and failed to correct them.

a) I also respectfully contend that former Chief of Police David Moore is
relevant to this Complaint and was responsible for the policies, practices and
customs of all employees of the Rochester Police Department and bears full
responsibility for the illegal actions of his former and current employees who

have all failed up to this time and date to turn over any Brady material in their

Case 6:11-cV-06238-C.]S-I\/|WP Document 1 Filed 05/03/11 Page 7 of 59

possession and control to my defense that was favorable and material to the

outcome of my trial and ongoing litigation.

14) 1 respectfully contend that the current Rochester Police Department Chief
of Police James Sheppard knew or should have known of the illegal actions of his

employees’ and failed to correct them.

a) 1 respectfully contend that Chief of Police .l ames Sheppard is also relevant
to this Complaint and is responsible for the policies, practices and customs of all
employees of the Rochester Police Department and bears full responsibility for
the illegal actions of his current and former employees who have all failed up to
this time and date to turn over any favorable Brady material to my defense that

was favorable and material to the outcome of my trial and ongoing litigation

As a result of the above illegal actions of the defendant’s named in this
Complaint, I respectfully contend Constitutional violations of my due process of
law civil rights under 42 U.S.C. 1983, 42 U.S.C.1985, 42 U.S.C. 1986 and U.S.C
1988 and seeks redress for these violations for the deprivation of my clearly
established Fifth and Fourteenth Amendment civil rights that led to my false

imprisonment for six years.

Per my Complaint and I-labeas Corpus Grant 05-CV-298VEB, the Plaintiff
Hector L. Valentin brings this action to recover compensatory and punitive
damages for the above Constitutional violations to my due process of law civil
rights pursuant to 42 U.S.C. 1983, declaratory, injunctive and equitable relief
pursuant to 28 U.S.C. 2201 and 2202, costs and attorney’s fees pursuant to 42
U.S.C. 1988 and Fed.R.Civ.P.54.

Jurisdiction of Complaint

Jurisdiction for this Complaint is invoked pursuant to 28 U.S.C. 1331 and
1332 (federal question) and 1343 civil rights.

Case 6:11-cV-06238-C.]S-I\/|WP Document 1 Filed 05/03/11 Page 8 of 59

Venue

This action properly resides in the Westem District of New York pursuant to
28 U.S.C. 1343(3) because the Habeas Corpus Grant was decided in the Westem
District, the claims arose in this judicial district and all defendants live or do

business in Monroe County.

Overview of the Facts and Issues Raised in this Complaint

1) This Complaint will show by the following information and Exhibits that
Assistant District Attomey Daniel Majchrzak and other Assistant District
Attomeys, administrative and investigative staff named as defendants in this
Complaint knew or should have known that their illegal actions of committing
one or more Brady violations, hiding or suppressing everything favorable to my
defense that was material to the outcome of my trial violated my Constitutional

due process civil rights to a fair trial and due process of law.

2) This Complaint will show by the following information and Exhibits that
ADA Daniel Majchrzak acted with reckless disregard to my civil rights
conducted a malicious prosecution against me using perjured eyewitness
testimony that he knew or should have known to be false and suborned this

perjury by his failure to correct it.

3) This Complaint will show by the following information and Exhibits that
the Rochester Police Department and the prosecutor’s police team named as
defendants in this Complaint knew or should have known of each other illegal
actions that hid or suppressed Brady information that was favorable to my

defense and material to the outcome of my trial.

a) This Complaint will also show by the following information and Exhibits
that the Rochester Police Department and the prosecutor’s police team named as

defendants in this Complaint acted with reckless disregard to my civil rights,

Case 6:11-cV-06238-C.]S-I\/|WP Document 1 Filed 05/03/11 Page 9 of 59

committed one or more Brady Violations and participated in a cover up of
silence that violated my Constitutional civil rights to a fair trial without due

process of law.

4) This Complaint will show by the following information and Exhibits that
ADA Daniel Majchrzak assumed the role and preformed the duties of a police

investigator in his prosecutions of my case and the related Arroyo case.

5) This Complaint will show by the following information and Exhibits that
all named defendants in this Complaint were employed by the Monroe County
District Attorney’s Oflice and the Rochester Police Department and acted
under the color of law and or were acting in their official duties, supported the
illegal actions of ADA Daniel Majchrzak in his malicious prosecution that led to

my false imprisonment and loss of liberty for six years.

6) This Complaint will show by the following information and Exhibits that
the named defendants in this Complaint knew or should have known that their
failure to honor their Brady obligations and their ethical obligations as stated in
their Organization’s Ethical Code policy committed illegal actions that deprived
me of my Constitutional due process civil rights to a fair trial and due process
of law and to be free from malicious prosecution and false imprisonment as

guaranteed under the Fifth and Fourteenth Amendments.

All named defendants in this Complaint were employed at the time of these
violations at the Monroe County District Attorney’s Office under the

supervision of former Monroe County District Attomey Howard Relin.

All named police defendants were employed at the time of theses violations at
the Rochester Police Department under the supervision of the former Chief of

Police David Moore.

In this Complaint, all facts and contentions supporting my civil rights
violation claims’ are included as Exhibits and are summarized in List and
History of Exhibits In Complaint pages and are included as a separate

attachment to this Complaint

Case 6:11-cV-06238-C.]S-I\/|WP Document 1 Filed 05/03/11 Page 10 of 59

These Exhibits consist of official court transcripts, official police reports,
official correspondence, personal mail, email and other pertinent information and

are documented in the following twenty-four sections of this Complaint.

I. John Kemp’s Participation

On February 29"‘, 2000, a stereo shop on Dewey Ave was robbed. Two
eyewitnesses were present, Terrance McLaurin the storekeeper and John Kemp an
acquaintance of McLaurin.

During the following police investigation, John Kemp indicated that he could
identify the suspects and was transported within one hour after the robbery to the
Maple Section Police Office.

At the police station, John Kemp was asked to view a MoRis photo array.
After viewing photographs of various individuals, John Kemp made a positive
identification on one photo that he identified as the gunman.

On or about Aug or Sept 2000, at his suppression hearing before Justice
Kenneth Fisher, John Kemp testified that the man he positively identified as the
gunman in his three Rochester Police Department reports was lose Arroyo.

At Mr. Kemp’s suppression hearing, Justice Fisher found him not to be
credible and wrote a Decision and Order on his findings.

Upon information and belief, my source being Justice Fisher’s Decision and
Order (Exhibit l, Page l and 2) dated on November 20, 2000.

ln this decision, Justice Fisher ruled that “Mr. Kemp did not provide clear
and convincing evidence that he has an independent basis for making an in court
identification Furtherrnore, he probably should not be sworn to testify at
trial.”

Also in this decision, Justice Fisher’s agreed with the defense that “Mr. Kemp
cannot give a reasonable accurate account of what he has seen and heard vis-a-

vis the subject about which he .....was examined at the hearing.”

10

Case 6:11-cV-06238-C.]S-I\/|WP Document 1 Filed 05/03/11 Page 11 of 59

Justice Fisher further stated “He simply could not describe what occurred
at the shop with any consistency, and he gave little or no confidence in the
reliability what he did describe consistently.”

As a result, Jose Arroyo’s case was dismissed and l was released and
instructed to attend a Wade and Huntley hearing on October 27, 2000.

Judge Geraci who knew of the Justice Fisher ruling on John Kemp’s
credibility allowed him to testify at my Wade and Huntley hearing.

At this hearing, ADA John Munro who was covering for Mr. Majchrzak
introduced John Kemp to .ludge Geraci.

l respectfully contend that ADA Munro knew or should have known of John
Kemp’s criminal records and informed Mr. Majchrzak and my defense of this
Brady material before my trial.

1 respectfully contend that ADA Munro’s failure to honor his Brady
obligations resulted in another Brady violation that violated my Constitutional
rights to a fair trial and due process of law.

In addition, John Kemp at this hearing falsely accused me of threatening him
at Midtown Plaza during the recess. l testified on the stand that l did not threaten
Mr. Kemp and was at Midtown shopping and showed my receipts as proof.

Despite the fact that lodge Geraci also knew of the Justice Fisher’s ruling on
John Kemp that raised serious problems With his credibility and that he probably
should not be sworn to testify at trial. Judge Geraci believed John Kemp’s story
and revoked my bail.

l was immediately remanded back to the l\/lonroe County jail until my trial
on lanuary 9 through the 1 lth, 2001 solely on the false accusations and word of
John Kemp.

As a result of this unjust imprisonment just before my trial, my ability to
mount a proper defense for my upcoming trial was severely impaired and

prejudiced my due process of law civil rights.

11

Case 6:11-cV-06238-C.]S-I\/|WP Document 1 Filed 05/03/11 Page 12 of 59

lI. Motion for Discovery

Before the trial, my defense attorney Mr. Dudley Bertram filed an omnibus
Motion for all discovery materials and anything that can be discovered.

Although Mr. Bertram did not specifically asked for any pending criminal
action or the ADA’s witnesses criminal histories, the Brady Rule and its related
rulings that anything favorable and material including the criminal records of
John Kemp and the pending criminal charge against Sarah Bower must be
disclosed by the prosecutor as well as the police to the defense and this
disclosure applies under a general request or no request at all.

When this rule is violated by the prosecutor and the police and affects the
outcome of a trial leading to false conviction and imprisonment; the
Constitutional due process civil rights of the defendant to a fair trial and due
process of law and to be free from malicious prosecution and false

imprisonment are violated under the Fifth and Fourteenth Amendments.

III. John Kemp’s Three Police Statements

At my trial on January 9-11, 2001, Mr. Kemp changed his story and was
allowed to testify as the prosecution’s key eyewitness that 1 was now the gunman
contradicting his previous Justice Fisher court identification and his three
police statements he made to the Rochester Police Department.

John Kemp confirmed his positive identification to (Officers Holmes and
luvestigator Murphy) in his three separate police reports that identified lose

Arroyo as the number one suspect (gunman) in his photo identification:

1) Police report dated February 29, 2000 by Officer Holmes who wrote
Kemp’s statement, “Kemp said he could identify the suspects and Kemp was

transported to the Maple Section Office. He viewed suspects matching the

12

Case 6:11-cV-06238-C.]S-I\/|WP Document 1 Filed 05/03/11 Page 13 of 59

description he gave. Kemp said the person bearing Moris #228079 as the man
who robbed the store that carried the handgun Moris #228079 is assigned to

Jose Arroyo”.

2) Defense Exhibit A-Police report dated March 1, 2000 by Investigator
Murphy who wrote Kemp’s statement, “The Hispanic male pulled a gun out,
etc.” “I positively identified etc”. “lnvestigator Murphy told me the person l

identified as named Jose Arroyo.”

3) Police report dated March 2, 2000 by Investigator Murphy who wrote
Kemp’s statement, “ln conversation with this witness about the incident he
recalled the suspect (Arroyo) that he identified coming into the shop twice on
the day of the robbery. He stated that just prior to suspect (Arroyo) pulling the

gun out etc, etc.”

Note-In section V-John Kemp testified at my trial and denied that he
identified lose Arroyo as the gunman in his police reports and testified that the

police put things in his reports that he didn’t say.

IV. John Kemp’s Court Statements to Justice Kenneth Fisher

The following is John Kemp’s transcription statements to Justice Fisher that
are related to what he told Justice Fisher on who was the gunman and to what he
testified at my trial:

Q: Justice Fisher: “And do you recall how it was as you were viewing the
monitor that you came to pick out an individual as the person who had
the gun?”

A: John Kemp: “Yeah. What happened was is it pumps up a picture. If it’s
not it, l forget how you do it, and go to the next picture, and just go
through a random thing and came to it. I said -- l said there it is (photo
of Arroyo). l will save, push the button to the save the picture, and l went

out and got the officer that is out the room there and l said, I said this is

13

Case 6:11-cV-06238-C.]S-I\/|WP Document 1 Filed 05/03/11 Page 14 of 59

the picture right here. He (officer) said okay, hold on, and they went
and got another officer and he said -- came in and wrote all the
information down.” (Page 64 and 65, lose Arroyo Suppressiori

Transcript, September or October 2000)

ln the above-transcribed statements l ohn Kemp confirmed to Justice
Fisher his MoRis identification of lose Arroyo as the gunman and also

his police reports.

Note~ln section V-When John Kemp testified at my trial, he denied the above

statement he made to Justice Fisher that he identified lose Ai'royo as the gunman

V. John Kemp’s lnconsistent Trial Testimony

The following is transcribed excerpts of John Kemp’s contradictory court

testimony to what he testified at the Justice Fisher hearing, what he told the

police and what he testified about at my trial:

1.

Page 281 and 282, Trial Transcript (Bertram’s cross-examination of John

Kemp):

Q. Was this photograph identified by you as a photograph of the gunman?

A. I never said the person that was in the photograph was the gunman.

Q. Was it a photograph of the gunman that you look at?

A. No.

Q. lt wasn’t?

A. l don’t recall, it been so many months -- it’s been over a year.

Q. You never said it was a photograph of the gunman?

A. l don’t recall.

Q. And are you saying today that the photograph you saw was not the
gunman

A. I’m not saying that.

Q. Well, what are you saying? Was it or wasn’t it?

A. l don’t -- remember what photograph l picked out of the hundreds I seen?

14

Case 6:11-cV-06238-C.]S-I\/|WP Document 1 Filed 05/03/11 Page 15 of 59

Q. Have you ever said on any occasion that the photograph you picked out
was a photograph of the gunman?

A. l don’t believe so.

2. Page 282 and 283, Trial Transcript (Bertram’s cross-examination of John

Kemp):

Q. Did anybody tell you?

A. No, only way l found out the person’s name was after 1 got the picture out
of the computer and the investigator said who the person was.

Q. So you picked out the photograph, you didn’t tell the investigator who
the person was?

A. Correct

Q. The investigator told you who it was.

A, This was what happened: he brought me --

Q. lust yes or no.

A. l-le brought me the pictures that 1 picked out and he Said which ones --these
look similar to the person who was involved in the incident? So l picked
out one that’s when 1 found out who the person’s name was.

Q. The officer told you the person's name?

A. lt was in the report that 1 read.

Q. Did the Officer tell you the person's name?

A. No, it was in the report that l read.

3. Page 283 and 284, Trial Transcript (Bertram’s cross-examination of John

Kemp):

Q. Now, Mr. Kemp. l want you to look at this. This has been marked as
Defendant’s Exhibit A, and tell me if you recognize it.

A. lt’s the statement l gave.

Q. Would you like to read for us the last sentence in your statement?

A. l can’t read that, its pretty messed up handwriting here.

Q. Well, were you able to read it --did you sign it after the police took it?

A. Yeah, but the person --

15

Case 6:11-cV-06238-C.]S-I\/|WP Document 1 Filed 05/03/11 Page 16 of 59

Q. Were you able to read it on the day you sign it after the police took it?

A. Um -- as l was talking he was doing this --

Q. Were you able to read it on the day you signed it‘?

A. Yes, 1 also wear glasses, too.

Q. But you can’t read it today?

A. l also wear glasses, too. l didn’t know I had to bring them to read.

Q. Would you like me to read it to you?

A. Sure.

Q. lt says, Investigator Murphy told me the person that I identified was

named Jose Arroyo.

A. Correct.

4. Page 286, Trial Transcript (Bertram’s cross-examination of John Kemp):

Q. Yeah. And did you say in your police statement to the police that the
person you identified was stated by the officer to you as being Jose
Arroyo‘?

A. Yes, as one of the parties, not the gunman.

5. Page 297 and 298, Trial Transcript (Bertram’s cross-examination of John

Kemp):

Q. Now since after this incident (robbery) took place --

A. Uh-huh.

Q. -- did you ever see number two (Arroyo) again‘?

A. No.

Q. You have never seen person number two (Arroyo) again up to this day?

A. All depends. No.

Q. Now you state that categorically You stand by that answer?

A. l feel that this is a trick question 1 don’t understand --

Q. No, l just want to know, that you’re sure of what you’re saying, Mr. Kemp.
Since that incident happened in February of last year, have you ever set
eyes on person number two (Arroyo) again?

A. No, only in court, that’s it.

Q. In court where?

16

Case 6:11-cV-06238-C.]S-I\/|WP Document 1 Filed 05/03/11 Page 17 of 59

A. Ah ~ no, not number two (Arroyo). I’ve only seen number one
(Valentin) that was it. I never seen number two (Arroyo) after the
incident, even out of all the court proceedings, I never seen the second
person (Arroyo).

Q. You never seen person number two (Arroyo)?

A. No.

Q. Now when you went before Justice Fisher at that hearing --

A. Correct.

Q. -- was there a defendant (Arroyo) in court there?

A. Correct.

Q. And who was that person (Arroyo)? Number two (accomplice) or number
one (gunrnan)?

A. Can you restate that?
Q. All right? Was there a defendant (Arroyo) in that court?
A. Yes.
Q. And 1 asked you, was that person (Arroyo) number two (accomplice) or
number one (gunman)?
A. Number two (accomplice).
6. Page 299 and 300, Trial Transcript (Bertram’s cross-examination of John

Kemp):

Q. Person number two (Arroyo), good. Now l ask you, did you know the
name of that person when you went before Justice Fisher.

A. No, l did not.

Q. No one told you who it was?

A. They may have said it, l don’t listen to everything they say, so -- l
don’t remember names.

Q. So you were going to testify about somebody who you didn’t know
who it was?

A. The person’s name --

Q. So you did not know the name of the person you were going to

testify about?

17

Case 6:11-cV-06238-C.]S-I\/|WP Document 1 Filed 05/03/11 Page 18 of 59

A. I believe his name was Jose Arroyo or something like that.

7. Page 323, Trial Transcript (Bertram’s cross-examination of John Kemp):

Q. The police put things in your statement that you didn’t say and you
signed it without reading it?
A. Yes.

I respectfully contend that John Kemp’s above inconsistent and contradictory

trial testimony on who was the gunman supports my perjury claim that he did

not testify truthfully at my trial.

1.

Vl. ADA Majchrzak’s Redirect Statements Supporting John Kemp’s

lnconsistent Trial Testimony

Page 324 and 325, Trial Transcript (Majchrzak's redirect of John Kemp):

Q. Mr. Kemp, I need to clear this up. This is very important These
questions about what happened in front of Justice Fisher, okay, the
two times that--

Q, When Mr. Bertram says you told Fisher that that picture was the gunman,
was it Fisher that said it or you that said it?

A. I never said it was the gunman, I never--

Q. So who in that court proceeding said the person in the picture that you
were looking at was the gunman, was it you or Fisher?

A. Fisher

Mr. Majchrzak: All right. That's all l need to settle.

Mr. Bertram: Q. Do you agree with him?

Mr. Majchrzak: A. Not me, Fisher?

Mr. Bertram: Q. Yeah, did you agree with Fisher?

Mr. Kemp: A. Yes

Page 314, Trial Transcript (Majchrzak’s Redirect of John Kemp):

Q. Did part of the statement that you signed state, l positively identified a
photo as the guy who robbed Terrance in the stereo shop on Dewey

Avenue?

18

Case 6:11-cV-06238-C.]S-I\/|WP Document 1 Filed 05/03/11 Page 19 of 59

A. Correct.

Q. Okay. When you -- now that’s in the statement. What did you mean by
that? Well, first of all, let me stop you there before you answer that. Who
wrote this statement out?

A. Um, Investigator Murphy.

Q. Okay, not you?

A. Not me.

1 respectfully contend that the above-transcribed trial testimony shows that

John Kemp again perjured himself during the prosecutor’s redirect and shows
that Mr. Majchrzak suborned Mr. Kemp’s perjury by blaming Kemp’s previous

inconsistent trial statements on Justice Fisher and the police.

VII. Point One John Kemp’s Perjury

The following points further support my contention that l ohn Kemp
committed perjury by testifying contrary to the three police statements he
signed, contrary to his suppression hearing transcripts before Justice Fisher, and
contrary to what Terrace McLaurin the other eyewitness testified about before
the grand jury.

This contention that lohn Kemp committed perjury at my trial is
summarized in the following statements:

1) Prior my trial, Mr. Kemp signed three police statements to two different
police officers (Holrnes and Murphy) that lose Arroyo was the gunman

2) Mr. Kemp testified under oath before Justice Kenneth Fisher and
identified lose Arroyo as the gunman and confirmed the statements he made to
the police.

3) Mr. Kemp also contradicted the testimony of the other eyewitness
(McLaurin) that Mr. Valentin was not the gunman

4) Mr. Kemp’s testimony at Mr. Valentin’s trial on lan 9th -11“‘, 2001 was

inconsistent and contradictory to his prior statements:

19

Case 6:11-cV-06238-C.]S-I\/|WP Document 1 Filed 05/03/11 Page 20 of 59

5) Mr. Kemp denied under cross-examination that he identified a photo of
lose Arroyo as the gunman to the police.

6) Mr. Kemp gave evasive and contradictory answers to the simple question
if anybody told him the name of the person he identified He first admits that
Investigator Murphy told him the name and then denies he heard the name by
stating “No. lt was in the police report that I read”

7) Mr. Kemp gave evasive and contradictory answers to the question if he
even signed his own police report.

8) Mr. Kemp contradicted his police report that stated he identified lose
Arroyo as the gunman

9) Mr. Kemp now claimed under cross-examination that he told the police
that Mr. Arroyo was one of the parties, not the gunman.

10) Mr. Kemp gave evasive and contradictory answers to the question if he
ever saw lose Arroyo after the robbery.

l l) He first said that he saw him in court and then said that he never saw him
although there was a defendant sitting in Justice Fisher’s courtroom.

12) in addition, Mr. Kemp contradicted the suppression transcript by
stating that he identified Mr. Arroyo as the accomplice to lustice Fisher.

13) Mr. Kemp stated under cross-examination that he didn’t know the name
of the defendant that he testified against in Justice Fisher’s courtroom.

14) Mr. Kemp then stated that he didn’t remember names.

15) On the next question, Mr. Kemp is suddenly able to recalled lose
Arroyo’s name.

16) Mr. Kemp confirmed under cross-examination that the police put things
in his police report that he never said and he signed his police report without
reading it.

17) This contradicts his two previous statements under cross-examination
“It was in the police report that l read” and “No. lt was in the police report that

I read”.

20

Case 6:11-cV-06238-C.]S-I\/|WP Document 1 Filed 05/03/11 Page 21 of 59

18) Mr. Kemp’s statement under cross-examination that the police put things
in his police report that he never said implies that the police falsified their police
reports and committed a very serious crime.

19) On Mr. Majchrzak’s redirect regarding his inconsistent statements he
made to Mr. Bertram, Mr. Kemp again confirmed that he never identified lose
Arroyo as the gunman before Justice Fisher.

20) Mr. Kemp also confirmed to Mr. Majchrzak that he positively identified
lose Arroyo as the gunman to the police after denying it during his cross-
examination

21) l respectfully contend that the trial and suppression transcripts shows
clear and convincing evidence that l ohn Kemp testified falsely under oath on a
material matter that would have affected the outcome of my trial with a
deliberate intent to deceive the court and jury.

As a result of John Kemp’s perjured testimony, my defense that l was not
the gunman was dealt a fatal blow and denied me any chance of receiving a

fair trial and due process of law.

VllI. Point Two ADA Majchrzak’s Subornation of Mr. Kemp’s Perjury

Before the trial, Mr. Majchrzak knew or should have known that he had a
serious credibility problem with l ohn Kemp when Mr. Kemp was severely
impeached on his prior trial statements

In spite of lohn Kemp’s inconsistent story and statements that contradicted
everything he said before, Mr. Majchrzak supported Mr. Kemp’s perjury in his
redirect and closing argument

The following excerpts and information were taken from my trial transcripts
and supports my contention that ADA Majchrzak’s suborned the perjury of
l ohn Kemp:

1) Mr. Majchrzak spent thirty-one minutes on his closing argument and
Strongly defended the inconsistent and perjured statements made by lohn Kemp,

saying Kemp was accurate, Kemp was believable and Kemp inherits the truth.

21

Case 6:11-cV-06238-C.]S-I\/|WP Document 1 Filed 05/03/11 Page 22 of 59

2) Mr. Majchrzak then expanded his subornation and also blamed Justice
Fisher and the police for John Kemp’s inconsistent statements to them by stating
to the jury in his closing argument

“But these alleged inconsistent statements (Kemp), what were they?
Were they the words that John Kemp used? No. Absolutely no evidence of
that.”

“What they were statements that other people (Fisher and Murphy) had
suggested or made to him that they confronted him with, that he had to take a

11 55

position on. and he (Kemp) signs, signs it trusting the police. ls that so
wrong, for a guy that is uninitiated in police investigations?”

“Again, he never said--where is it that says the gunman was lose Arroyo?
Never did.”

3) “'l`his questioning before Justice Fisher, you will recall the testimony, not
one word where John Kemp says, ycs, that guy (Arroyo) was the gunman.”

“You will never see those words in the transcript.”

“Because again, you have a Supreme Court Justice looking down on John
Kemp, who got nervous, and suggesting to him something which he says one
thing or the other to.” (Page 469 and 470, Trial Transcript, closing argument)

4) ln my Habeas Corpus Grant, Magistrate l udge Bianchini ruled, “The
prosecutor also improperly and blatantly vouched for Kemp’s credibility:”
(Page 37, Habeas Corpus Decision and Order January 10, 2011

l respectfully contend that Mr. Majchrzak in his redirect and closing

argument statements suborned the perjury committed by lolm Kemp at my

trial.
IX. Point Three ADA Majchrzak’s Malicious Prosecution
l respectfully contend that the following points further support my

contentions in this Complaint that Mr. Majchrzak’s engaged in a malicious

prosecution that violated my civil rights when he allowed lohn Kemp to

22

Case 6:11-cV-06238-C.]S-I\/|WP Document 1 Filed 05/03/11 Page 23 of 59

perjure himself, suborned Kemp’s perjury and then allowed Sarah Bower to
also commit perjury at my trial:

1) John Kemp’s three police reports directly contradicts Mr. Majchrzak on
“where is it that says that Jose Arroyo was the gunman etc.” and showed that
he (Majchrzak) made a false and misleading statement to the jury.

2) Mr. Majchrzak knew or should have known what was in the police
reports before making this statement to the jury and stating it as the truth.

3) ln addition, page 64 and 65 of lohn Kemp’s suppression hearing before
Justice Fisher directly contradicts Mr. Majchrzak’s statement to the jury that
they will never see those words in the transcripts ln fact, page 64 and 65
clearly shows that John Kemp confirmed to Justice Fisher his police
identification of lose Arroyo as the gunman

4) Also, Mr. Kemp was Mr. Majchrzak key eyewitness at the lose Arroyo
suppression hearing and was there to testify that Arroyo was the number one
suspect (gunman).

5) Mr. Kemp also told Public Defender Mary Davison under cross-
examination at his suppression hearing, “l got a good look at him (Arroyo). So,
if the police said can you identify, l could say yes.” (Page 49, lose Arroyo
Suppression Transcript)

6) Again, Mr. Majchrzak who was the same prosecutor on the Arroyo case
was present at lohn Kemp’s suppression hearing before Justice Fisher and knew
or should have known what l ohn Kemp testified about.

7) Also, Mr. Majchrzak knew or should have known that his statement,
“You will never see those words in the transcript” to the jury was false and
misleading

8) As a result of Mr. Majchrzak’s subornation of lohn Kemp’s testimony on
redirect and in his closing argument, Mr. Majchrzak was able to paint me as the
gunman and a dangerous criminal in the minds of the jury.

9) Consequently, my defense that l had no intent to participate in a robbery

that l did not know would happen and was not the gunman was prejudiced.

23

Case 6:11-cV-06238-C.]S-I\/|WP Document 1 Filed 05/03/11 Page 24 of 59

10) ln addition, Mr. Majchrzak failed to correct l ohn Kemp when he denied
during cross-examination what he previously told Justice Fisher.

11) Mr. Majchrzak also failed to correct John Kemp when he denied his
signed police report on the positive identification of lose Arroyo as the gunman
12) Despite l ohn Kemp’s complete change of testimony from his previous

court proceeding before Justice Fisher and the fact that Mr. Majchrzak was
present and heard his testimony, he strongly defended John Kemp’s conflicting
testimony by false and misleading statements of facts to the court and jury.
13) 1 respectfully contend that Mr. Majchrzak’s reckless disregard for the
truth in supporting John Kemp’s perjured and inconsistent testimony at my
trial when he knew or should have known otherwise, engaged in a malicious
prosecution that dealt a fatal blow to any chance l had in receiving a fair trial

and due process of law.

X. Point Four John Kemp’s Criminal Records

The following information shows the extensive criminal history of John
Kemp:

1) Shortly after my trial and conviction, another inmate at the Monroe County
jail told me that Mr. Kemp was a child molester and he had served time with him
at Attica.

2) l relayed this information to Mr. Rolfe who is the grandfather of my
daughter and also an interested party to my case.

3) Mr. and Mrs. Rolfe then checked the Intemet and discovered lohn Kemp’s
inmate record and notified Mr. Bertram of this information

4) Later after my sentence Mr. Rolfe requested an electronic search of John
Kemp’s records from the city and county records department

5) The clerk completed the search and handed Mr. Rolfe a manila package of

lohn Kemp’s records.

24

Case 6:11-cV-06238-C.]S-I\/|WP Document 1 Filed 05/03/11 Page 25 of 59

6) After Mr. Rolfe left the building, he noticed that the package had some
weight to it. Curious Mr. Rolfe along with his wife sat down on a bench in the
Civic Center Plaza and started reading John Kemp’s criminal records.

7) Mr. and Mrs. Rolfe were absolutely shocked to learn that John Kemp
sexually molested a three-year-old female child, sodomized and sexually molested
a 14-year-old female and that his own sister charged him with attempted incest
and stated in her report that her brother raped her five years before.

8) ln yet another report, John Kemp’s invalid mother had him arrested after he
threatened to burn down her house after she locked him out because she couldn’t
stand his violent and disruptive behavior.

9) ln addition to the above, Mr. Kemp was also charged with assaulting a
young teenage boy with a pipe and sending him to the hospital, breaking down the
door on another person’s property and violating a restraining order from his ex
girlfriend who also stated in her police report that lohn has been arrested 141
times and should be in a hospital instead of jail.

10) Finally the last record showed that l ohn Kemp went crazy and threw
garbage cans at and damaged a police vehicle when they were called to assist in
the repossession of Kemp’s rented stereo system.

11) For his last crime, lohn Kemp was arrested, prosecuted and convicted
by the Rochester Police Department, the Monroe County District Attomey’s
Office and the RochesterfMonroe County Court system iri 1999, the year before
my trial for criminal mischief

12) As Mr. and Mrs. Rolfe read the reports, a records clerk came up to them in
the plaza and asked for the records that contained the sexual details back.

13) Mr. Rolfe not wanting to see her get into trouble with her boss gave
permission for her to take out the records with the sexual details.

14) ADA Majchrzak who knew or should have known of lohn Kemp’s
criminal past denied that he had any imputed knowledge of such infonnation.

15) Later the New York State Appellate Court and the Federal Westem
District Court of New York did not believe ADA Majchrzak and charged him
with a Brady Violation.

25

Case 6:11-cv-O6238-C.]S-|\/|WP Document 1 Filed 05/03/11 Page 26 of 59

XI. Point Five ADA Majclirzak’s Participation and Involvement

The following information and Exhibits further supports my contention in
Section IX Point three (ADA Majchrzak’s Malicious Prosecution) and shows
ADA Majchrzak’s participation and involvement

1) Shortly after the robbery incident on Dewey Ave on Feb 29, 2000, ADA
Majchrzak was assigned as the chief prosecutor to the case.

2) The first suspect that Mr. Majchrzak investigated was named lose Arroyo
who was identified as the gunman by Terrance Mclaurin the store clerk in a
police line up.

3) Upon information and belief my source being a police report (Exhibit 2)
dated April 15, 2001 that reported ADA Majchrzak and Public Defender Mary
Davison along with her investigative aide attended the lose Arroyo lineup at
police headquarters

4) This police report confirms that ADA Majchrzak was actively involved in
the police investigation of the robbery incident on Dewey Avenue.

5) ln fact, Mr. Majchrzak was actively involved in both prosecutions that
spanned more than a year and concluded with my sentence on Apri128, 2001.

6) Around September or October 2000, Mr. Arroyo and l were released after
Justice Fisher found lohn Kemp not credible.

7) However, Mr. Majcrzak did not drop his prosecution of me and after
several hearings l was scheduled for trial on January 9, 2001.

8) Before the jury was called, l was offered a plea deal from ludge Geraci.
The deal was for 2 to 3 years and reduction of the felony offense. ludge Geraci
also said that if l refuse the deal I would be facing 25 years if I were convicted.

9) l decided to decline the deal and go to trial since l was not the gunman and
had no intent to participate in a robbery that l did not know would happen

10) ln spite of the warning signs that ADA Majchrzak had severe credibility
problems with his witnesses (i.e. l ustice Fisher Decision on lohn Kemp and the

Sarah Bower material witness charge), my case proceeded to trial with his key

26

Case 6:11-cv-O6238-C.]S-|\/|WP Document 1 Filed 05/03/11 Page 27 of 59

eyewitness being a discredited brain damaged convicted child molester who
changed his story on who was the gunman

11) ln addition, 1 respectfully contend that ADA Majchrzak knew or should
have known that he also had a serious credibility problem with his second
witness Sarah Bower when he had her arrested on a material witness charge and
forced her to give testimony at my trial about car stereo equipment that was not
reported stolen and who also tried to steal my stereo equipment in her police
report that she made to Investigator Cotsworth.

12) Mr. Majchrzak then denied he knew anything about the criminal records
of lohn Kemp even though he had extensive contact with lohn Kemp, other
prosecutors and his police team.

13) This police team included lnvestigators Murphy, Mace and Cotsworth
who all testified at my trial.

14) ln addition to Mr. Majchrzak’s police team, there was many other
supporting Rochester Police Department personnel and employees of the Monroe
County District Attomey’s Office involved in my case.

15) l respectfully contend that considering Mr. Majchrzak long involvement
in both cases and his frequent contact with police personnel, it would seem
inexplicable that nobody in the Monroe County District Attorney’s Office or
the Rochester Police Department knew the extensive criminal and violent
history of lohn Kemp nor would tell Mr. Majchrzak about it.

16) l-lowever this is exactly what happened in my case.

17) l had to find out myself about John Kemp’s criminal history from
another inmate among hundreds that were incarcerated in the Monroe County
jail.

18) Brady material that this inmate knew and that ADA Majchrzak and the
Rochester Police Department both claimed to have no knowledge of.

19) 1 respectfully contend that ADA Majchrzak and the Rochester Police
Department knew or should have known of lohn Kemp’s extensive criminal
history because he was well known to the Monroe County District Attorney’s

Office who prosecuted him for all his offenses, the Rochester Police Department

27

Case 6:11-cv-O6238-C.]S-|\/|WP Document 1 Filed 05/03/11 Page 28 of 59

who investigated and arrested him numerous times, the Public Defender’s
Office who defended him and the Monroe County and the Rochester City Courts
who both tried and sentenced him.

20) Despite these overwhelming sources of imputed knowledge, Mr.
Majchrzak steadfastly maintained that he did not know that John Kemp had a
criminal record. Also Mr. Majchrzak’s police team were never questioned or
challenged by the courts as to why the Rochester Police Department never
disclosed lohn Kemp’s criminal records to my defense.

21) Furthermore, ADA Majchrzak proudly stated to ludge Geraci in my 330
hearing that he (Majchrzak) didn’t make it a practice to check on his
witnesses’ criminal history.

22) l respectiiilly contend that Mr. Majchrzak’s above statement clearly shows
negligence for his Brady obligations as mandated by the Supreme Court and
negligence to his ethical duties as a prosecutor.

23) ln addition, Public Defender Mary Davison specifically asked Mr.
Majchrzak for all pending criminal actions and criminal records of his witnesses
Ms. Davison’s request was made many months before my trial in ADA
Majchrzak’s prosecution of lose Arroyo.

24) 1 also contend that it would seem almost inexplicable that Mr. Majchrzak
wouldn’t be curious to see if his witnesses had a criminal record or pending
criminal action since he readily had computer access to anyone’s criminal
records at his office and it might be brought up at trial.

25) ln fact, Terrance Mclaurin the store clerk who identified Mr. Arroyo in
the lineup as the gunman had two felony convictions for offenses that involved
drugs and alcohol.

26) Mr. McLaurin’s criminal records were also never disclosed to me and
l respectfully contend that Mr. Majchrzak failure to also turn over Mr.
McLaurin’s convictions to my defense resulted in a third Brady violation

27) ln addition, l respectfully contend that another Brady violation also
occurred when DA Investigator Casper Caceci was assigned to track down the

whereabouts of Mr. McLaurin.

28

Case 6:11-cv-O6238-C.]S-|\/|WP Document 1 Filed 05/03/11 Page 29 of 59

28) 1 respectfully contend that lnvestigator Caceci acted in the role of a police
investigator in his investigative duties with the District Attomey’s Office and
knew or should have known of the criminal records of John Kemp and Mr.
McLaurin that were in his possession and control.

29) l respectfully contend that lnvestigator Caceci should have honored his
ethical and legal obligations under Brady to disclose this information to Mr.
Majchrzak and my defense.

30) lnvestigator Casper Caceci involvement in my case is documented in his
investigative report that Wendy Ezell, Mr. McLaurin’s sister in law said that
Terrance (McLaurin) sold a fish bowl without her permission handed her his
store keys back and took off to Califomia and then would be painting houses in
the Bahamas.

31) With Mr. Mclaurin unavailable, Mr. Majchrzak then relied on lohn Kemp
as his key eyewitness despite being previously discredited by Justice Fisher.

32) On January 9, 2001 the day of my trial, Mr. Majchrzak told ludge Geraci
he intended to use l ohn Kemp as his key eyewitness and let him change his story.

33) During the pretrial conference, ludge Geraci questioned Mr. Majchrzak
about John Kemp and the Justice Fisher’s ruling.

34) Mr. Majchrzak answered that he had no problem using John Kemp as
his star witness or any problem with John Kemp changing his story.

35) My case then proceeded to trial where l found out that l was now being
prosecuted as the gunman

36) My defense lawyer was also completely befuddled by this change of
events because he had prepared his case that l was not the gunman

37) Mr. Bertram protested to ludge Geraci “This is my whole case, we are
not the gunman”.

38) Despite the protest from my defense, ludge Geraci allowed lohn Kemp to
testify that l was now the gunman

39) During his cross-examination Mr. Bertram severely impeached John
Kemp on his previous testimony before Justice Fisher, his police reports and

his in court identification of Mr. Arroyo being the gunman

29

Case 6:11-cv-O6238-C.]S-|\/|WP Document 1 Filed 05/03/11 Page 30 of 59

40) On the stand, lohn Kemp denied everything iii his police reports and
testimony before Justice Fisher. He blamed Justice Fisher and the police for his
prior testimony and said that the police falsified his records

41) l respectfully contend that Mr. Majchrzak having seen and heard the
testimony of lohn Kemp knew or should have known that Kemp’s testimony was
false and then failed to correct him.

42) ln fact Mr. Majchrzak even admitted to my above contention in
paragraph 41 in his statement to ludge Geraci that lohn Kemp was impeached
about as much as anyone can be impeached.

43) Despite seeing that his star eyewitness was not telling the truth and in
order to save his case, Mr. Majchrzak with reckless disregard for the real truth
engaged in a malicious prosecution and strongly supported lohn Kemp’s
perjured testimony in his redirect that it was Justice Fisher and the police’s
fault.

44) Mr. Majchrzak further expanded the prejudicial damage by vouching for
lohn Kemp’s credibility in his closing argument and stated to the jury that lohn
Kemp was credible, that John Kemp was speaking the truth when he knew or
should have known otherwise

45) ln spite of John Kemp’s trial testimony fiasco, Mr. Majchrzak continued
his malicious prosecution when he called Sarah Bower to the stand to testify
about an alleged statement that she said that l made to her, “Where did you
think I got this s--- from?”

46) l respectfully contend that Sarah Bower’s malicious introduction to my
trial introduced more perjury when she unjustly accused me of stealing stereo
equipment that was owned by Mr. Rolfe and me.

47) Furthermore Mr. Majchrzak knew or should have known that l had given
permission to the police to search my car when l was arrested and no stolen items
were found or introduced at my trial as physical evidence.

48) The second prong of Mr. Majchrzak’s malicious prosecution involved my

police statement that contained no smoking gun

30

Case 6:11-cv-O6238-C.]S-|\/|WP Document 1 Filed 05/03/11 Page 31 of 59

49) Mr. Majchrzak stated to ludge Geraci just before my trial, as you know
l udge, Valentin‘s police report basically said that he was the unwitting dupe of
this other guy, and his intent was innocent

50) ln my Habeas Corpus Grant, Magistrate ludge Victor Bianchini wrote
“the prosecutor’s case was more akin to a house of cards than a foundationally
sound structure.” (Page 38) Habeas Corpus Decision and Order January 10,
201 1.

51) l respectfully contend that ADA Maj chrzak maliciously built this house
of cards with a reckless disregard for the truth.

52) Mr. Majchrzak built his prosecution on multiple Brady violations by
withholding everything favorable to my defense that was material to the outcome
of my trial.

53) ln addition, Mr. Majchrzak used perjured witnesses’ testimony that he
knew or should have known was false and did not matched the police reports and
trial testimony of lohn Kemp in the Justice Fisher hearing or matched the
information he gathered from his role he assumed as a police investigator in his
investigations of both the Arroyo and Valentin cases’ to build his prosecutions

54) When Mr. Majchrzak was confronted at pretrial that something might be
wrong with the proof of his case, Mr. Majchrzak proudly told ludge Geraci that
he had no problem with his case proceeding to trial.

55) ln fact, Mr. Majchrzak had no problem with my case after my trial,
conviction and appeal and never disclosed any Brady material to my defense.

56) ln addition, ludge Geraci was also very critical of Mr. Majchrzak
unethical tactics used in the prosecution of my case.

57) ludge Geraci’s comments as to the fairness of my trial and Mr.
Majchrzak’s unethical trial tactics in his use of John Kemp as a credible witness
are expanded on in the next section of this Complaint in Section XII. Point Six
and in Section XIII. Point Seven March 27, 2001 330 Motion Decision and
Order.

31

Case 6:11-cv-O6238-C.]S-|\/|WP Document 1 Filed 05/03/11 Page 32 of 59

XII. Point Six Judge Geraci’s Trial Critique of ADA Majchrzak at 330 Moti'on
Hearing March 7, 2001

After lohn Kemp’s criminal records were discovered, Mr. Bertram filed a
330 Motion with ludge Geraci to vacate my conviction on the grounds of a
Rosario/Brady violation

1) Upon information and belief my source being a transcript (Exhibit 3)
dated on March 7, 2001 recording my 330 Motion hearing.

2) ln this hearing, ludge Geraci heard arguments from Mr. Bertram against
Mr. Majchrzak’s suppression of lohn Kemp’s criminal records

3) During this hearing, ludge Geraci and Mr. Bertram raised serious ethical
and legal questions on Mr. Kemp’s credibility, Mr. Majchrzak’s conduct and
the fairness of my trial in the following transcribed statements:

4) Mr. Bertram protesting to ludge Geraci said: “It was clear that the case was
fraught with duplicity and deceit from the very beginning 'l`he district attorney
knew, and l think this is undisputed, that Mr. Kemp (phonetic) was going to
testified in a matter contrary to the way he testified in the trial of Ayroyo
(phonetic), Mr. Valentin’s co-defendant, as well as contrary to statements he had
given to the police. Not only that, but contrary to the testimony given by the
victim, Mr. McClarin (phonetic) at a preliminary hearing heard against Mr.
Valentin.” (Page 2 and 3, March 7, 2001 Sentence Transcript)

5) ludge Geraci told Mr. Majchrzak “and you don’t want to know whether
or not he (Kemp) has a criminal history in preparation for your case?”

6) Mr. Majchrzak responded back “Judge, l don’t make it a practice to find
the information”. (Page 5, March 7, 2001 Sentence Transcript)

7) Mr. Majchrzak responded to ludge Geraci’s criticism “Your asking what
my trial preparation strategy is”.

8) ludge Geraci: “Fairness Let’s talk about fairness There has to be some
question in your mind regarding that testimony in the Grand lury from the other
eyewitness that the other person possessed the gun. Now your witness says this

defendant possessed the gun and you don’t want to inquire into that witness

32

Case 6:11-cv-O6238-C.]S-|\/|WP Document 1 Filed 05/03/11 Page 33 of 59

regarding his background and regarding his veracity. lsn’t that your obligation
as a prosecutor?” (Page 6, March 7, 2001 Sentence Transcript)

9) ludge Geraci: “Don’t you have to test the veracity of the statement made
to you (Majchrzak) when you have direct contrary information from the other
eyewitness Don’t you think you would have an obligation to do that?” (Page
6, March 7, 2001 Sentence Transcript)

10) ludge Geraci to Mr. Majchrzak: “This is not a minor disagreement This
goes to the very heart of the case. This is the significant factor regarding who
walked in that store and who possessed the gun, isn’t that a significant
difference between what you had presented to a grand jury, and what you had a
trial jury herein this courtroom?” (Page 7, March 7, 2001 Sentence Transcript)

11) l udge Geraci: “And there was a standard response on the Brady.”

“Um, l’m going to reserve decision This case is obviously very disconcerting
the way the whole thing has been handled with the co-defendant, Mr. Arroyo’s
charge being discharged with the eyewitness (McLaurin) fleeing to Florida,
apparently being uncooperative, testifying Mr. Arroyo was the gunman with the
witness (Kemp) coming in to trial here indicating Mr. Valentin was the gunman.”

“With the facts turning out subsequent to the trial that the primary witness
(Kemp) against Mr. Valentin is a double predicate felon and has three
misdemeanor convictions that the jury never heard.”

“It’s all very, very disconcerting.”

“This whole process this whole courtroom seeks to seek truth as best as we
can and in this case it appears um, that wasn’t done.”

“There was not a truth-seeking mission We need to address that So l’ll
reserve decision l’ll write a decision on this case.” (Page 16 and 17, March 7,
2001 Sentence Transcript)

12) The statements made and recorded by l udge Geraci and Mr. Bertram in
the March 7, 2001 Sentence Transcript supports Section VII. Point One (John
Kemp’s Perjury), Section VIII. Point Two (ADA Majchrzak’s Subornation of
Mr. Kemp’s Perjury), Section IX. Point Three (ADA Majchrzak’s Malicious

Prosecution), Section X. Point F our (lohn Kemp’s Criminal Record) and Section

33

Case 6:11-cv-O6238-C.]S-|\/|WP Document 1 Filed 05/03/11 Page 34 of 59

XI. Point Five (ADA Majchrzak’s Participation and lnvolvement) above in this
Pro Se Complaint.

13) As a result, l respectfully contend that Mr. Mazchrzak knew or should
have known of the real facts and proof of my case. l also contend that ADA
Majchrzak acted with reckless disregard and engaged in a malicious prosecution
against me using perjured testimony, making false and misleading statements
to the court and jury, committed multiple Brady violations and suppressed
everything favorable to my defense that was material to the outcome of my trial
and then admitted to Judge Geraci that he had no problem with my case
proceeding to trial.

14) l respectfully contend that the cumulative effect of Mr. Majchrzak’s
illegal actions to allow and then suborn the perjury of lohn Kemp dealt a fatal
blow to any chance l had in receiving a fair trial and due process of law and
violated my Constitutional due process civil rights under the Fifth and

Fourteenth Amendments.

Xlll. Point 7 March 27th, 2001 330 Motion Decision and Order on ADA
Majchrzak’s Trial Tactics

Upon information and belief my source being ludge Geraci’s Decision and
Order (Exhibit 4) dated March 27, 2001 on my 330 Motion.

The following transcribed statements made by l udge Geraci about what
happened in my case are as follows:

l) “On January 9, 2001, jury selection was scheduled to commence At a pre-
trial conference the court questioned the People’s ability to proceed based on the
failure of the People to produce the complaining witness Terrance McLaurin
coupled with the questionable credibility of the second witness, l ohn Kemp,
based upon the prior ruling of Justice Fisher. Further complicating the situation
the People now proffered that the witness, John Kemp, would testify that the
defendant Hector Valentin was the individual who entered the store with the

33

gun .

34

Case 6:11-cV-06238-C.]S-I\/|WP Document 1 Filed 05/03/11 Page 35 of 59

“This representation was made in light of the People’s knowledge that the
witness, Terrance McLaurin, had testified at the preliminary hearing and in the
Grand Jury that the defendant Jose Arroyo was the individual with the gun and
was adamant that the second individual, Hector Valentin, did not have the gun”
(See Grand Jury testimony of Terrance McLaurin, pages 13 and 14).

“Additionally, the People, in their responding papers to defendant’s omnibus
motion indicated that their theory was that the defendant, Hector Valentin, was
merely an accomplice and did not possess the handgun utilized in the robbery”.

“When the court pointed out these concerns to the prosecutor just prior to
jury selection, his (Majchrzak) response was simply that he felt the People
had no problem with their proof or proceeding on the case.” (Page 4 and 5,
March 27, 2001 Decision and Order)”.

“Undeterred, the People plowed full steam ahead in the prosecution of
Hector Valentin”.

“Even in the light of the Justice Fisher’s ruling regarding the reliability of
Mr. Kemp and the People’s knowledge that Mr. Kemp intended to testify
contrary to the other eyewitness to the robbery, specifically regarding the
possession of the weapon during the robbery, the prosecutor announced that he
did nothing to attempt to test his witness’ credibility.” (Page 7, March 27,
2001 Decision and Order)

2) Judge Geraci’s comments that Mr. Majchrzak had no problem with his
proof or proceeding on the case and that he did nothing to attempt to test his
witness (Kemp) credibility raises serious ethical and legal questions.

3) The Lawyer’s Code of Professional Responsibility states that a lav.Wer has a
legal as well as an ethical responsibility to correct testimony that he knows to
be false.

4) 1 respectfully contend that there is clear and convincing evidence that Mr.
Majchrzak failed to either test or correct Mr. Kemp’s testimony before my trial
or at my trial.

5) l respectfully contend that Mr. Majchrzak’s failure to honor his legal and

ethical obligations as a prosecutor perpetrated a fraud on the court and jury by

35

Case 6:11-cV-06238-C.]S-I\/|WP Document 1 Filed O5/O3/11 Page 36 of 59

allowing Mr. Kemp to perjure himself at my trial and violate my Constitutional
due process rights to a fair trial and due process of law.

6) Despite the serious ethical and legal issues and the fairness of my trial
that were raised during my 330 motion hearing, Judge Geraci denied my request
for a new trial and ruled that no BradyfRosario violation occurred because the
prosecutor was unaware of the criminal history of John Kemp.

7) I was then sentenced to six years in State prison with five years probation.

XIV. Howard Relin-Attomey Grievance Committee-NYS Attorney’s

General Office and the Request for Investigation

l) Upon information and belief my source being a letter (Exhibit 5) dated
February ll, 2001 that Mr. Rolfe wrote to Howard Relin to bring to his attention
the issues that were raised about the fairness of my trial and a request for his
office to look into this matter.

2) Upon information and belief, my source being a letter (Exhibit 6)
dated December 8, 2001 that Mr. Rolfe also wrote to Howard Relin and enclosed
a copy of the grievance letter (Exhibit 7) dated November 29, 2001 that he sent
to Mr. Drake at the Attomey Grievance Committee.

Mr. Rolfe in his letter to Howard Relin also requested that his office
conduct an internal investigation into this matter based on the attached letter.

3) Upon information and belief, my source being a letter (Exhibit 8) dated
December l 1, 2001 that Mr. Relin wrote back to Mr. Rolfe that basically said that
John Kemp’s participation in my trial was not important and he found no
misconduct committed by his former employee Mr. Majchrzak

Mr. Relin also said it was the testimony from Sarah Bower and my police
statement that convicted me.

4) I respectfully contend if Mr. Relin had conducted an investigation into Mr.
Majchrzak conduct, he would have discovered the Sarah Bower theft
information in his files and not have used her as a credible witness to Mr. Rolfe

in his letter.

36

Case 6:11-cV-06238-C.]S-I\/|WP Document 1 Filed O5/O3/11 Page 37 of 59

5) I also respectfully contend that Mr. Relin acted with reckless disregard
when he knew or should have known of Sarah Bower’s records and committed
additional professional negligence with his failure to conduct an official
investigation into Mr. Rolfe’s perjury complaint that was supported by my trial
transcripts, transcripts from the Justice Fisher’s hearing and John Kemp’s official
police reports.

6) In addition, l contend that Mr. Relin’s lack of action, conflict of interest
and failure to correct the misconduct of his employees violated my
Constitutional due process rights to a fair trial and due process of law.

7) Mr. Relin also mentioned to Mr. Rolfe in his letter that Mr. Majchrzak was
a former employee

8) lt is unclear if ludge Geraci and Howard Relin took any disciplinary action
regarding this matter against Mr. Majchrzak since Judge Geraci was very upset
with Marjchrzak’S trial tactics and the use of John Kemp as a credible witness.

9) A discovery request for any information on the above matter including
Mr. Majchrzak’s personnel records will be requested in the discovery litigation

of this Complaint.

A. Howard Relin’s Letter-Kemp’s Testimony Was Not Important!

Upon information and belief my source being a letter (Exhibit 9) dated
January 15, 2002 that Mr. Rolfe wrote to Mr. Muldoon about the response he
received from Howard Relin on his December 11, 2001 letter where Mr. Relin
basically said that the testimony of John Kemp was not important in the
outcome of my trial.

Mr. Rolfe wrote to Mr. Muldoon:

Mr. Relin said in his letter that the testimony of John Kemp was not
important l completely disagree with his statement, Kemp’s testimony was
critical to letting Mr.Valentin’s case go to trial and having him taken back into
custody after his Huntley hearing. lt was important in supporting Mr. Majchrzak’s
opening statement to the jury that Mr. Valentin was the prime suspect and co
supporting Ms. Bower’s testimony and it was important to Mr. Majchrzak’s case

37

Case 6:11-cV-06238-C.]S-I\/|WP Document 1 Filed O5/O3/11 Page 38 of 59

of putting an eyewitness in front of the jury. To now say that this witness was not
important completely ignores the facts of Mr. Valentin’s case.

The second enclosed letter (Exhibit 10) dated December 21, 2001 from Mr.
Drake is also contradictory He said my most recent correspondence does set
forth any new facts that would warrant a reconsideration of our prior decision I
believe he meant does not. However, all my points that asserted Mr. Majchrzak
engaged in misconduct were supported by documentation and none of these
points were answered.

B. Transcripts Excerpts Supporting Kemp’s Perjury and Request for Official
Investigation!

Upon information and belief, my source being a letter (Exhibit 11) dated
August 16, 2002 that Mr. Rolfe wrote to Howard Relin in response to his letter
dated December ll, 2001.

In this letter, Mr. Rolfe stated he has been quiet on this matter because he
wanted to read my trial transcripts.

From those transcripts Mr. Rolfe documented the perjury of John Kemp and
the subornation of that perjury by Mr. Majchrzak from their recorded testimony
from the Justice Fisher’s suppression hearing, the police reports and my trial
transcripts

Mr. Rolfe’s letters regarding his request for an investigation into John
Kemp’s perjury are as follows:

l) Mr. Rolfe wrote in this letter the following:

The purpose of this letter is to report to your Office, that a serious crime was
committed at the trial of Mr. Hector Valentin and request an official and
impartial investigation by your Office to look into this matter. 1 am referring to
the serious crime of perjury, a class D felony, which l strongly believed was
committed by the key eyewitness, John Kemp, whose testimony was crucial in
Mr. Valentin’s case proceeding to trial. I arn also making the following claim that
ADA Daniel Majchrzak suborned Kemp’s perjury by failing to correct it. l
Strongly believe that the following information contained in this letter shows
clearly that Mr. Kemp testified under oath with the deliberate intention to deceive
on material facts that directly affected the outcome of Mr. Valentin’s case.

2) Upon information and belief my source being a follow up letter (Exhibit
12) dated September 10, 2002 that Mr. Rolfe wrote to Mr. Relin.
This letter included additional information from the transcripts supporting the

perjury of Jolm Kemp and the subornation of perjury by Mr. Majchrzak

38

Case 6:11-cV-06238-C.]S-I\/|WP Document 1 Filed O5/O3/11 Page 39 of 59

Based on this new information, Mr. Rolfe again requested an investigation
into the perjury complaint

In conclusion, the information in the transcripts proves without any doubt
that John Kemp perjured himself and Mr. Majchrzak suborned it. Mr. Majchrzak
knew or should have known that John Kemp’s testimony was false. Mr.
Majchrzak was present at Kemp’s suppression hearing and heard what Mr. Kemp
said. ln addition, Mr. Majchrzak also knew that the other eyewitness (Terrance
McLaurin) version was in direct contradiction with Mr. Kemp’s version. Mr.
Majchrzak failed not only to correct Mr. Kemp’s false testimony but deliberately
engaged in misconduct by making misleading statements to the Jury in support of
it. As a result, a serious miscarriage of Justice occurred in Mr. Valentin’s case.

I have also previously written to Justice Fisher as well as to other interested
parties including the Democrat and Chronicle. 1 am bringing this matter to your
attention because l strongly believe that the serious crime of perjury should be
addressed on the front end by your Office instead of on the back end by the
Appellate Court. At this point, I am waiting for a response as to what action your
Office intends to take on this matter.

3) Upon information and belief, my source being a letter (Exhibit 13) dated
October 7, 2002 that Mr. Rolfe wrote to then New York State Attomey General
Eliot Spitzer filing a conflict of interest complaint against Mr. Relin and to
request an official investigation by his office into this matter.

The following letter summarizes Mr. Rolfe experience with Howard Relin
and his reckless disregard for my Constitutional due process civil right to a fair
trial and due process of law when he ignored Mr. Rolfe’s perjury complaint and
committed a Brady violation when he did not turn over the pending criminal
charge information on Sarah Bower to my defense.

Mr. Rolfe out of frustration with the run around he received from Mr. Relin
and Mr. Drake on the request for a perjury investigation wrote to Mr. Spitzer in
his letter:

Dear Mr. Spitzer,

l am writing to file a conflict of interest complaint against Monroe County
District Attomey, Howard Relin, and to request an official investigation by your
office into the following matter.

On August 16th and September 10th, 2002, l wrote two letters (Exhibits ll
and 12) (copies enclosed) to Mr. Relin and reported to his office that the serious
crime of perjury was committed by their key eyewitness, John Kemp, and
suborned by his Assistant District Attomey Mr. Daniel Majchrzak at the trial of

39

Case 6:11-cV-06238-C.]S-I\/|WP Document 1 Filed O5/O3/11 Page 40 of 59

Mr. I-lector Valentin. I specifically requested an official investigation of these
charges by a special prosecutor and documented these claims from the police
reports and trial transcripts.

After repeated telephone calls to Mr. Relin requesting a status on my request,
Mr. Relin finally returned my call. ln the following conversation, Mr. Relin talked
about the other aspects of Mr. Valentin’s case, which were not relevant to what l
had originally requested. When l asked him specifically about the perjury charge,
he replied that he didn’t believe that any were committed and stated that he would
take no action. A copy of my letter sent to Mr. Relin confirming this conversation
is also enclosed.

I felt that Mr. Relin’s response on this matter severely undermines the public
trust. When a layman writes to report a serious crime and backs their claim with
compelling evidence, l strongly believe that they are entitled to have it examined
by an impartial investigation to determine the facts for merit. To have Mr. Relin
say that they don’t believe that any crime was committed without offering any
reasons to back their statement, l find is not only unacceptable but is prejudicial
and irresponsible as well.

Second, l strongly believe that Mr. Relin has a conflict of interest because
this matter involved his office and a serious misconduct charge against one of his
fenner prosecutors. Therefore, l cannot see how Mr. Relin can be fair or
impartial investigating his own office. I strongly believe he should recuse
himself from this matter and turn it over to your office for an impartial
investigation by a special prosecutor.

Since Mr. Relin has failed to do this, I arn requesting that your office assign a
special prosecutor to investigate my perjury and subornation of perjury charges
and the false accusations made by Mr. Kemp against the police and Justice Fisher.

4) Upon information and belief, my source being a letter (Exhibit 14) dated
on October 22, 2002 that Mr. Rolfe received from Mr. Drago at the NYS
Attomey’s Office.

Mr. Drago wrote that Mr. Spitzer asked him to respond back to Mr. Rolfe and
thank him for making him aware of my concems regarding the Monroe County
District Attomey’s Office.

However Mr. Drago informed Mr. Rolfe that the authority to regulate all
lawyers is placed by law with the Appellate Division of the Supreme Court and
told him to file his complaint with the Attomey Grievance Committee.

5) Mr. Rolfe again wrote one last time to the Attomey Grievance Committee
requesting a reconsideration of the perjury matter. Mr. Drake wrote back to him
on January 2, 2003 and told him that the matter will remain closed and they will

respond to no more requests from him.

40

Case 6:11-cV-06238-C.]S-I\/|WP Document 1 Filed O5/O3/11 Page 41 ot 59

6) Upon information and belief, my source being a letter (Exhibit 15) dated
on April 29, 2001 that shows the above actions and letters taken by Mr. Rolfe
were done with my permission.

7) Mr. Rolfe as previously mentioned iri this Complaint is the grandfather of
my daughter and an interested party in this matter who supports my contentions
that my Constitutional due process civil rights were violated and that l did not
receive a fair trial and due process of law.

8) Mr. Rolfe is also willing to testify that the information submitted by him is
a true and accurate statement of the facts known to him and were included by
me in this Complaint to support my claim that my Constitutional due process civil
rights to a fair trial and due process of law were violated by Mr. Relin when he
failed to honor his ethical and legal duties and turn over Sarah Bower pending
criminal charge information to my defense when he was the District Attomey.

9) ln addition, l respectfully contend that Mr. Relin failed to train his
employees on their ethical and legal obligations under Brady or the Lawyer’s
Code of Professional Responsibly because no employee under his direct
supervision ever turned over any favorable information on John Kemp and Sarah
Bower to my defense before, during and after my trial and appeal when this

Brady information was clearly in their possession and control.

XV. May 2003 New York State Appellate Appeal

In May 2003, Mr. Muldoon filed a Notice of Appeal (People v Valentin) with
the New York Supreme Court, Appellate Division, Fourth Department. l also filed
a Supplemental Pro Se Appeal.

On November 23, 2003, the Appellate Court ruled that there was a Brady
violation (People v Valentin) by the trial prosecutor suppressing the criminal

records of his key eyewitness John Kemp.

This decision is now orie of the leading Brady violation cases referred to by

New York defense lawyers regarding the ethical and legal obligations of

41

Case 6:11-cV-06238-C.]S-I\/|WP Document 1 Filed O5/O3/11 Page 42 ot 59

prosecutors to turn over any information favorable to the defense and material

to the outcome of the trial. The decision states:

Upon information and belief, my source being the (People v Valentin)
decision (Exhihit 16) dated on November 21 , 2003.

In brief, the Supreme Court of the State of New York, Appellate Division,
Fourth Judicial Department in (People v Valentin) ruled that there was a Brady
violation on the withholding of the criminal records of the key eyewitness John

Kemp by the trial prosecutor (ADA Maj chrzak).

The Appellate Division, Fourth Judicial Department further ruled that “The
requirement that the Brady material be in the People’s possession or control
*** has not been interpreted narrowly”. (People v. Santorelli, 95 NY2d 412, 421;
People v Bryce, 88 NY2d 124, 128; People v Vilardi, 76 NY2d 67, 73). “A
prosecutor must learn of any favorable evidence known to others acting in the
government’s behalf and promptly disclose any such material evidence to the
defendant” citing (Santorelli, 95 NY2d at 421; People v Wright, 86 NY2d 591 ,
598 and the People v Novoa, 70 NY2d 490, 498.

'I`his decision based on the Brady rule confirmed that the trial prosecutor
violated my Constitutional due process civil rights to a fair trial by the

withholding of the criminal records of John Kemp.

However, the New York Appellate Court also ruled that if the criminal
records of John Kemp were revealed to thejury, it was harmless error and it

would not have affected the outcome of my trial.

ln my Habeas Corpus grant, F ederal Magistrate ludge Bianchini ruled that the
New York State Appellate Court made an incorrect Brady rule analysis
regarding materially which would have affected the outcome of trial, granted

me Habeas Corpus relief and expunged my convictions

Note-At the time of my appeal in 2003, I did not know that the second
witness Sarah Bower had a pending criminal action against her before my trial

and the additional suppression of this Brady material by ADA Majchrzak, the

42

Case 6:11-cV-06238-C.]S-I\/|WP Document 1 Filed O5/O3/11 Page 43 ot 59

Monroe County District Attomey’s Office and the Rochester Police Department
denied me the opportunity to file a second Brady violation against her in my

New York State Appellate Court appeal.

XVI. New York State Court of Appeals

The New York State Court of Appeals declined to review People v Valentin and
effectively ended my appeal with the New York State Court system.

XVII. Sarah Bower’s Trial Testimony

Sarah Bower was a material witness who was arrested because she was
unresponsive to service. After her arrest she agreed to testify about a hearsay
statement “Where do you think l got this s--- from”? that she alleged I made to

her on the stolen property.

The following is Sarah Bower’s trial transcript testimony that Mr. Majchrzak
wanted to admit into the court proceeding to place me in possession of stolen

property:
l) Pre trial testimony discussion between Mr. Maj chrzak and ludge Geraci:

Mr. Majchrzak: His (Valentin) admission to her makes no sense; he says where
you think l got these. lt doesn’t make any sense to let her
testify to that admission which is clearly admissible and then
not get in that part about the speakers. (Page 330, Trial
Transcript)

The Court: ls she - are these speakers visible to her‘?
Mr. Majchrzak: l believe they are, Judge.

The Court: Could she describe those‘?

43

Case 6:11-cV-06238-C.]S-I\/|WP Document 1 Filed O5/O3/11 Page 44 ot 59

Mr. Majchrzak: She can describe them.
The Court: Well, that’s an issue, too. If she can, then l allow it in. (Page
330, Trial Transcript)
The following is transcribed excerpts of Sarah Bower’s trial statements on
her speaker testimony:
Mr. Majchrzak Q: And the speakers in the back, you said - okay. Could you
describe where, exactly, they were and what, exactly, those

speakers looked like to you?

Sarah Bower A: Um, dark colored, and they were in each comer of the windows
in the back.

Mr: Majchrzak Q: Okay. Sitting on top of the -
Sarah Bower A: On top of the -

Mr. Majchrzak Q: Behind the seat?

Sarah Bower A: Yes, sir.

Mr. Majchrzak Q: And if you had to compare them size-wise and shape wise,
what would you compare them to?

Sarah Bower A: l don’t know, they’re, say - l don’t know, six by nine, l’m not
sure. l don’t know.

Mr. Majchrzak Q: What was the physical shape of them: round, oval?
Sarah Bower A: l’m sorry, rectangular.
(Page 342 and Page 343 Trial Transcripts, Sarah Bower-DX-Mr. Majchrzak)

2) When Mr. Bertram cross-examined Sarah Bower and asked her to explain
my alleged statement “Where do you think I got this s--- from?” and “What
was the equipment?”. Sarah Bower replied and expanded the s--- to include
“The tape face player, the speakers that were in the back. There was a
speaker box (boom box) in the back seat, in the trunk. The whole system in_

it’s in general.”(Page 358, trial transcripts).

44

Case 6:11-cV-06238-C.]S-I\/|WP Document 1 Filed O5/O3/11 Page 45 ot 59

The following points contradict Sarah Bower’s trial testimony and police
reports:

1) The speakers and the other items she described were never reported
stolen and her testimony was also contradicted by Mr. Rolfe’s in his Affidavit.
(Exhibit 17)

In fact theses items described in Sarah Bower trial testimony as stolen were
also car stereo components that she claimed ownership of in her police report.

Her statement “lf (Valentin’s) car is taken, cd, speakers and box (boom) are
mine”. (Page 8, bottom right)

With this statement in her police report, l respectfully contend that she tried
to steal my stereo equipment in her police report and then tried to implicate me
being in possession of stolen property at my trial.

The above is another contradictory statement and confirms that Sarah Bower
had little or no credibility as a witness at my trial.

2) Fuithermore, she claims in her police report that l told her the following
statement “He ran up in the store with his gun and robbed them of the stuff he had
in his car.”

According to the police reports nobody including myself ran up in the store
and robbed them and no stolen items from the stuff iri my car were found.

When cross-examined by Mr. Majchrzak about who had the gun she replied,
“Okay, I don’t know in particular which person had the gun, but l was told
they were together.” (Page 353, trial transcript)

l respectfully contend that her above statement is completely contradictory
to what she previously said in her police report and leads to the question to how
any sane person can believe her testimony as to what was really said.

3) Also Mr. Majchrzak knew or should have known that l had given
permission to the police to search my car when l was arrested and no speakers
were reported stolen and no stolen items were found or introduced at my trial as
physical evidence.

4) Again Mr. Majchrzak with reckless disregard to my Constitutional due

process rights to a fair trial and due process of law suborned the perjury of

45

Case 6:11-cV-06238-C.]S-I\/|WP Document 1 Filed O5/O3/11 Page 46 ot 59

Sarah Bower and failed to correct it knowing that her testimony did not match
with the information in her police reports, the testimony of the store clerk and her
police claim that these items belong to her.

5) l respectfully contend that Mr. Majchrzak further violated my
Constitutional due process civil rights to a fair trial and due process of law when
he stated to the jury in his closing argument that Sarah Bower’s testimony largely
collaborates Mr. Kemp’s story.

(On page 462, trial transcript) Mr. Majchrzak quotes Ms. Bower as saying
about Mr. Valentin “I robbed the store at gunpoint” thereby implying that Kemp
and Bower’s testimony are in agreement on who was the gunman.

I-lowever, she previously told Mr. Majchrzak that she didn’t know who had
the gun.

l respectfully contend that Mr. Majchrzak had little or no regard to the truth.

As he had before with John Kemp, Mr. Majchrzak built another a house of
cards with Sarah Bower again using false and misleading inforrnation, perjured
witnesses testimony and proudly stated to ludge Geraci that he had no problem
with his case proceeding to trial or stating that he did not make it a practice to
check on any of his witnesses criminal records.

Furthermore, I respectfully contend that if Mr. Majchrzak did not make it a
practice to check to see if his witnesses’ had any criminal histories then he
certainly would not have check to see if Sarah Bower had a criminal history or a

pending criminal charge against her either.

XVIII. 440.10 Motion on Discovery of Brady Material

ln December 2003, l was informed of new information on Sarah Bower
regarding her pending criminal action and fugitive status from the Highland

Police station the week before my trial.

l) This new information was filed in a Pro Se 440.10 Motion on June 9, 2004

with Judge Geraci. The 440 motion was based on the following grounds: second

46

Case 6:11-cV-06238-C.]S-I\/|WP Document 1 Filed O5/O3/11 Page 47 ot 59

Brady violation and newly discovered information regarding the ownership of
the car stereo speakers that were used by the trial prosecutor at my trial to support
the testimony of his witness, Sarah Bower that implicated me being in possession
of stolen property. Mr. Rolfe also filed a supporting Affidavit (Exhibit 17) to

contradict Sarah Bower’s testimony about the speakers

2) On February 4, 2005, Judge Geraci denied my 440.10 Motion without the
benefit of a hearing or counsel on the grounds that the police and trial prosecutor
were unaware of her fugitive status and the pending criminal action against Sarah

Bower.

3) Judge Geraci also made the same decision in denying my 330 Motion that
the trial prosecutor and the police were unaware of the criminal records of John
Kemp despite the fact they were in their possession and control. The New York
State Appellate Division, Fourth Department later ruled in my appeal, People v
Valentin that there was a Brady violation and the criminal records were in the

trial prosecutor’s possession and control

4) Judge Geraci also ruled that the owner of my car could not prove
ownership of his factory installed car speakers even though the owner, Mr.
Rolfe, supplied in his Affidavit a copy of his Certificate of Title and lnternet
photographs showing the factory installed rear deck speakers

5) Based on this denial and the fact that Mr. Rolfe felt Judge Geraci’s
contentions were unsupported by the information he submitted in his first
Affidavit, Mr. Rolfe wrote a second Affidavit to the New York State Appellate
Court in my Leave to Appeal.

6) Mr. Rolfe stated in his second Affidavit that the very meaning of the
words factory installed meant that his speakers were installed in his car at the
factory and were a part of his car just as his steering wheel was a part of his

Cal'.

47

Case 6:11-cV-06238-C.]S-I\/|WP Document 1 Filed O5/O3/11 Page 48 ot 59

l respectfully contend that the following information shows clear and
convincing evidence that the Sarah Bower’s pending criminal action regarding
the police reports that reported her theft from Cordello’s were also suppressed
by ADA Majchrzak, the Monroe County District Attorney’s Office and the
Rochester Police Department as follows:

l) Upon information and belief, my source being a police report (Exhibit 18)
dated January 3, 2001 that reported Sarah Bower had an outstanding warrant

request before my trial.

2) This police report reports that Sarah Bower entered Cordello’s Pizzeria,
her former place of employment1 walked around the counter and took money out
of the cash register. When she was confronted with her theft, Ms. Bower ran

out of the store and fled down Monroe Avenue.

3) An employee and eyewitness filed a criminal complaint with Officer

Hoke at the Highland Police Office.

4) Officer Hoke wrote a warrant request authorizing her immediate arrest

on probable cause.

5) This warrant request and accusatory instrument were in the possession
of the Rochester Police Department and the Rochester City Court before my

trial.

6)) Upon information and belief, my source being a police report (Exhibit
19) dated on April 27, 2000 and obtained through a FOIL request from the
Monroe District Attorney’s Office.

7) This police report dated April 27, 2000 and reported by Officer Hoke
shows that he assisted Officer Adorante with the transport of my car from 15
Harwood Street to the Public Safety Building.

8) Officer Hoke also stated that he drove my car into the evidence lock up
cage. (Exhibits 18 and 19) shows that Officer Hoke knew or should have known
both Sarah Bower and me in the performance of his police duties at the
Highland Police Office.

49

Case 6:11-cV-06238-C.]S-I\/|WP Document 1 Filed O5/O3/11 Page 49 ot 59

9) Upon information and belief, my source being a police interview report
(Exhibit 20) dated April 27, 2000 that was obtained through a FOIL request from
the Monroe County District Attorney’s Office.

10) This police interview report shows that on April 27, 2000, lnvestigator
Cotsworth was at 15 Harwood Street along with Investigator Walther and
Officer Adorante.

ll) (Exhibit 20) also shows that Investigators Cotsworth, Walther and
Officer Adorante took me into custody at l8:l2 hrs. (Exhibit 19) further shows
that Officer Hoke assisted with the transport of my car to the Public Safety
Building at 18:20 hrs.

12) (Exhibits 19 and 20) shows that Investigator Cotsworth and Officer
Hoke were both at 15 Harwood Street on Apri127, 2000, at approximately

the same time and involved in the same arrest incident.

13) lnvestigator Cotsworth and Officer Hoke also worked together at the
Highland Police Office, the same office that was trying to arrest Sarah Bower
the week before my trial. ln addition, both Investigator Cotsworth and Officer
Hoke knew Sarah Bower and me from their involvement in the performance of

their police duties.

14) lnvestigator Cotsworth testified at my trial on January 10, 2001 right
after the testimony of Sarah Bower. lnvestigator Cotsworth who was a key
member of the trial prosecutor’s team knew or should have known about Sarah
Bower’s fugitive status and pending criminal charge as early as Jan 3, 2001
six days before my trial. lnvestigator Cotsworth should have honored his police
obligations under Brady and its related Kyles ruling and before my trial informed

the trial prosecutor of her fugitive status and pending criminal charge.

15) ln addition lnvestigator Cotsworth knew or should have known that
Sarah Bower was going to make an appearance to testify at my trial and he
should have taken her into custody before her testimony. l respectfully contend

that there is the reasonable probability that lnvestigator Cotsworth violated

50

Case 6:11-cV-06238-C.]S-I\/|WP Document 1 Filed O5/O3/11 Page 50 ot 59

police policy with his failure to make an arrest when he was aware of her

location.

16) According to the police reports, Sarah Bower lived and worked in the
Highland Police Section and was well known to lnvestigator Cotsworth and
the Highland Police Office from their investigation of her police statements she
made to Investigator Cotsworth, her altercation and theft from Cordellos and

her fugitive from the law status and pending criminal action by his office.

17) ln addition, five other police investigators and officers were directly
involved iri my case. These officers were: lnvestigators Walther, Keenan,
Mace, Murphy and Officer Adorante. lnvestigators Walther, Keenan and
Officer Adorante worked at the Highland Police Office with Officer Hoke and
lnvestigator Cotsworth and also knew or should have known Sarah Bower and

me from their involvement in the investigation

18) Based on the above information, l respectfiilly contend that the
Highland Police Office tluough the exchange of information in the performance
of their police duties knew or should have known of Sarah Bower’s theft and
fugitive status. l further contend that this knowledge was imputed to the trial
prosecutor and the Monroe County District Attorney’s Office who knew or

should have known of her theft and fugitive status before my trial.

The following information and exhibits further supports my contentions on

the suppression of the Sarah Bower theft information:

l) Upon information and belief, my source being an Assigned Counsel Clairn
Voucher (Exhibit 21) dated January 18, 2001 submitted by Jeffrey Regenstrief

who was Sarah Bower’s material witness lawyer.

2) This document shows that Sarah Bower was arrested as a material
witness and Was in the custody of the Rochester Police Department and the
Monroe County Criminal Justice System on or before January 5, 2001 four

days before my trial.

51

Case 6:11-cV-06238-C.]S-I\/|WP Document 1 Filed O5/O3/11 Page 51 ot 59

9) Furthermore Mr. Rolfe states in his Affidavit that he had a phone

conversation with Officer Hoke on December 9, 2003.

10) Mr. Rolfe asked Officer Hoke why it took so long to arrest Sarah Bower.
Officer Hoke told Mr. Rolfe that he went out looking for Sarah Bower and it was

his belief that she knew and evaded them to avoid arrest.

l 1) Officer l-loke also told Mr. Rolfe that he remembered hearing about the

altercation incident two weeks before her theft at Cordello’s.

12) Upon information and belief, my source being an Affidavit (Exhibit 25)
dated December 27, 2000 from ADA Majchrzak that corroborates in
conjunction with her theft from Cordello’s, Sarah Bower’s propensity for being

an inherently unreliable witness with a serious credibility problem.

13) This document shows that Sarah Bower intentionally evaded all
attempts made by the District Attorney’s Office to respond to service and had to

be arrested on a material witness charge to force her testimony.

14) This Affidavit was also unknown to me until my appeal attorney, Mr.

Muldoon, obtained this document from Judge Geraci’s office.

15) Upon information and belief, my source being a Rochester City Court
Record (Exhibit 26) dated May 8, 2001 that a Bench Warrant of Arrest was
issued by Judge Theresa Johnson after Sarah Bower failed to appear at her next
scheduled court date on April 24, 2001.

16) Again Sarah Bower was a fugitive from the law and evaded police

arrest until July 2, 2001.

17) This document further corroborates her inherent unreliability as a

credible and trustworthy person.

18) l respectfully contend that ADA Majchrzak, the Monroe County District
Attorney’s Office and the Rochester Police Department knew or should have

known of this Brady material that was in their possession and control

56

Case 6:11-cV-06238-C.]S-I\/|WP Document 1 Filed O5/O3/11 Page 52 ot 59

19) l respectfully contend that this Brady material on Sarah Bower’s police
and court records on her theft from Cordello’s and her fugitive from the law
status were never disclosed to my defense before my trial, during my trial or

after my trial.

20) l respectfully contend that the information contained in the above
paragraphs was a second Brady violation, covered under Brady v Maryland and
its related rulings and that the suppression of this information violated my due
process civil rights to a fair trial and due process of law to be free of malicious
prosecution and false imprisonment as guaranteed under the Fifth and

Fourteenth Amendments of the United States Constitution.

XXI. Brady v Maryland

1) ln the landmark Brady v Maryland ruling and its subsequent related
rulings, the United States Supreme Court ruled that the federal and state
governments have an independent duty to disclose certain information to a

criminal defendant

2) The prosecution violates due process if it suppresses evidence favorable
to an accused where the evidence is material either to guilt or to punishment,
regardless of the good faith or bad faith of the prosecution. See Brady v.
Maryland, 373 U.S at 87

3) The duty to disclose such evidence is applicable even though there has
been no request by the accused. See United States v. Agurs, 427 U.S 97, 107
(1976)

4) The duty encompasses impeachment evidence as well as exculpatory
evidence. See United States v. Bagley, 473 U.S. 667, 676 (1985)

5) Such evidence is material "if there is a reasonable probability that, had

the evidence been disclosed to the defense, the result of the proceeding would

57

Case 6:11-cV-06238-C.]S-I\/|WP Document 1 Filed O5/O3/11 Page 53 ot 59

have been different." See Bagley, 473 U.S. at 682; also see Kyles v. Whitley,
514 U.S. 419, 433-434 (1995).

6) Moreover, the rule encompasses evidence "known only to police

investigators and not to the prosecutor. See"Kyles, 514 U.S. at 43 8.

7) ln order to comply with Brady, therefore, "the individual prosecutor
has a duty to learn of any favorable evidence known to the others acting on
the government's behalf in this case, including the police." and disclose this

information to his defense. See Kyles, 514 U.S. at 437.

XXII. Effect-Sarah Bower’s Second Brady Violation-Prejudicial Harm to my

Constitutional Civil Rights to a F air Trial and Due Process of Law

In the following points, l respectfully contend in this Pro Se Complaint that
the same Brady rules applies to the suppression of the Sarah Bower theft
information by ADA Majchrzak, the Monroe County District Attorney’s Office

and the Rochester Police Department as follows:

1) At the time of my trial, Sarah Bower was a material witness and also a
fugitive from the law. This information was material to my case, impeaching to

her credibility and favorable to my defense and outcome of my trial.

2) The disclosure of this information at the time of my trial would have

seriously damaged her credibility.

3) The suppression of this favorable information undermined the jury’s

verdict.

4) My defense did not possess the Sarah Bower theft information before my

trial nor could it be obtained with any reasonable diligence.

5) In light of the John Kemp Brady violation, the second Sarah Bower
Brady violation compounded the prejudicial damage of the first. The cumulative

effect dealt a fatal blow to any chance l had in receiving a fair trial.

58

Case 6:11-cV-06238-C.]S-I\/|WP Document 1 Filed O5/O3/11 Page 54 ot 59

6) This information was in the possession and control of the Rochester

Police Department and the Rochester City Court before my trial.

7) The Rochester Police Department and the police members of ADA
Majchrzak’s police team knew or should have known of Sarah Bower’s theft and
fugitive status before my trial. This Brady material and information was
imputed to ADA Majchrzak and the Monroe County District Attorney’s

Office in the performance of their duties.

8) This favorable information was suppressed under Brady by ADA
Majchrzak, the Monroe County District’s Attorney’s Office and the
Rochester Police Department irregardless of their good faith or bad faith

intentions or if they knew or didn’t know.

9) The disclosure of her theft information to the jury would have put Sarah
Bower’s testimony and motives in an entirely different light given her material

witness status and inconsistent trial statements about the stolen property.

10) Sarah Bower’s allegations in her police report were uncorroborated

except by her word and reliability as a credible person.

11) Sarah Bower stated in her police report (on page 8) if car (Valentin’s)
was taken by the police, the speakers, CD player and box (boom) were hers.

These were the same speakers that she alleged were stolen from the stereo store.

12) lnexplicably my defense attorney never impeached Sarah Bower on her
police statement about her claimed ownership of these items but only on her
police statement that she wanted her apartment keys back after denying on the

stand that 1 didn’t have her apartment keys.

13) Mr. Rolfe told me that he had also talked to lnvestigator Walther, the

police officer who l gave permission to search my car.

14) In his conversation with Investigator Walther, Mr. Rolfe inquired about
the location of his missing stereo equipment and about the alleged horne invasion

that Sarah Bower initially accused me of.

59

Case 6:11-cV-06238-C.]S-I\/|WP Document 1 Filed O5/O3/11 Page 55 ot 59

15) lnvestigator Walther told Mr. Rolfe that these people (Sarah Bower’s

friends) were into drugs and not credible.

16) Fuithermore before my trial l told my defense attorney about Sarah
Bower’s drug use and that she had told me that she had undergone rchab for a
crack addiction. Again my defense lawyer did not impeach her on this

information

17) In addition, there was a reasonable probability that had Judge Geraci
granted an evidentiary hearing, l could have called Sarah Bower’s former
employer Mr. Cordello as a witness to explore the reasonable probability if she

was fired for employee theft to support her drug use.

18) This reasonable probability is based on the comments regarding her
character that were made by Mr. Cordello to Mr. Rolfe in their telephone

conversation on December 8, 2003 and also contained iri (Exhibit 17).

19) The suppression of this information denied my defense the opportunity
to impeach Sarah Bower on this information and allowed her to testify with

impunity that she was a credible person.

20) The suppression of this information also denied my defense of any

opportunity to open up additional lines of questioning

21) l-lad this information been disclosed to my defense, there was the

reasonable probability that the outcome of my trial would have been different

22) l further contend that Sarah Bower’s pending criminal action, arrest,
prosecution and conviction were certainly in the possession of the Monroe

County District Attorney’s Office and was never disclosed to me after my trial.

23) The suppression of this information prevented my defense from raising
the Sarah Bower theft matter in my 330 Motion and Appeal and prejudiced my

due process right to a post conviction fair proceeding

24) The above prejudicial damage was evident at my November 20, 2003
Appellate hearing when Justice Elizabeth Pine who did not know of Sarah

Bower’s pending criminal charge asked Mr. Muldoon, “Did Sarah Bower have a

60

Case 6:11-cv-O6238-C.]S-|\/|WP Document 1 Filed O5/O3/11 Page 56 ot 59

record?” Mr. Muldoon who also did not know of Sarah Bower’s theft could only

reply that she was a material witness

25) Mr. and Mrs. Rolfe who attended my appeal hearing and were hopeful
that l would win from the severe prejudicial damage caused by John Kemp alone
realized from Justice Pine’s sharp question to Mr. Muldoon that l had just lost
my appeal.

26) In addition, the cumulative effect of both Brady violations prejudiced
any chance l had in receiving a fair trial, fair due process of law post conviction

330 Hearing and New York State Appellate Appeal proceeding

27) l also contend that if the jury, Judge Geraci in my 330 motion and in my
appeal to the New York State Appellate Court had known of Sarah Bower’S
pending criminal action and theft from Cordello’s, Sarah Bower’s credibility
would have been severely undermined and a reasonable probability existed that

the outcome of my trial, 330 motion and appeal would have been different

28) 1 respectfully contend that as a result of the suppression by Mr.
Majchrzak and the Rochester Police Department of both John Kemp’s criminal
records and Sarah Bower’s pending criminal action, my Constitutional civil
right to a fair trial and due process of law were dealt a fatal blow to any chance

l had in receiving a fair trial and due process of law.

XXIII. Habeas Corpus Grant

On April 28, 2005, l filed a Petition for a Writ of Habeas Corpus under 28
U.S.C 2254 with the Federal Court Westem District of New York. On January 10,
201 l, the Honorable Magistrate Judge Victor Bianchini granted Habeas Relief
and ruled that there was a Brady violation on the ADA’s suppression of John

Kemp criminal records

61

Case 6:11-cv-O6238-C.]S-|\/|WP Document 1 Filed O5/O3/11 Page 57 ot 59

Magistrate Judge Bianchini also ruled that it was material to the outcome of
my trial and the suppression of John Kemp’s criminal records violated my

Constitutional due process civil rights to a fair trial and due process of law.
Magistrate Judge Bianchini also ordered that my convictions be expunged.

The Monroe County District Attorney’s Office did not file a timely notice of
appeal to the Federal 2nd Circuit Court in New York City appealing Magistrate

Judge Bianchini’s Decision and Order on my Habeas Corpus Grant.

XXIV. Conclusion

ln conclusion, l respectfully contend from the information contained in this
Pro Se Complaint that everything favorable and material to my defense and the
outcome of my trial including the criminal records of John Kemp, Terrance
McLaurin and the pending criminal action against Sarah Bower both before and
after my trial was suppressed by the illegal actions of ADA Mr. Majchrzak
and the other named defendants in this Complaint who are employed or were
formerly employed by the Monroe County District Attorney’s Office and the

Rochester Police Department

1 respectfully contend that ADA Mr. Majchrzak acted in the role and
assumed the duties of a police investigator in the prosecution of my case and the
related Arroyo case and thereby lost his absolute immunity from litigation in this

Complaint.

1 respectfully contend that ADA Mr. Majchrzak acted with reckless
disregard, used perjured Witnesses’ testimony, made false and misleading
statements and evidence against me at my trial and engaged in a deliberate act of
malicious prosecution that he knew or should have known would lead to my

false imprisonment and deprivation of my liberty for six years

l respectfully contend that all parties listed above and named as defendants in

this Pro Se Complaint also acted with reckless disregard under the color of law

62

Case 6:11-cv-O6238-C.]S-|\/|WP Document 1 Filed O5/O3/11 Page 58 ot 59

and committed illegal actions involving one or more Brady violations
participated in and or supported ADA Majchrzak’s illegal actions iri his
malicious prosecution and false imprisonment against me that deprived of my

liberty for six years

1 also respectfully contend that all named defendants in this Complaint
through their illegal actions deprived me of my Constitutional civil rights to a
fair trial and due process of law and protection from malicious prosecution and
false imprisonment as guaranteed under the Fifth and Fourteenth Amendments

of the United States Constitution.

As a result of the above illegal actions by the named defendants iri this Pro
Se Complaint that led to my false imprisonment and loss liberty, l suffered
extreme emotional-physical pain and suffering involving six years loss of liberty
under harsh conditions five years of supervised probation, a current painful and
persistent back injury that l sustained iri prison, extreme damage to my name
and reputation, loss of affection from my children, loss of income, loss of

work opportunities and job loss from background checks

l respectfully contend that the submission of this Complaint before your
Court will show clear and convincing evidence to support my claims’ that the
illegal actions of the named defendants in this Complaint knew or should have
known of the Brady material that was in their possession and control and

disclosed this information to my defense.

1 respectfully contend that the defendant’s illegal actions in the suppression
of this Brady material that was favorable to my defense and material to the
outcome of my trial violated my Constitutional due process civil rights and

deprived me of any chance of receiving a fair trial and due process of law.

l respectfully petition this Federal Court to review my Complaint on its
merits and award just and reasonable damages based on what the court or jury
may see fit to redress the multiple civil rights violations that l suffered from the
illegal actions of the named defendants documented in this Complaint that

deprived me of my freedom and loss of liberty for six years

63

Case 6:11-cv-O6238-C.]S-|\/|WP Document 1 Filed O5/O3/11 Page 59 ot 59

Dated: April 29, 2011

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